UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     3/30/2018


In re:
                                                                     03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                    ORDER

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SARAH NETBURN, United States Magistrate Judge:

         On Wednesday, March 28, 2018, the Honorable George B. Daniels denied Defendant

Saudi Arabia’s motion to dismiss and ordered limited jurisdictional discovery on specific factual

allegations critical to the immunity determination as to the alleged tortious acts by alleged Saudi

agents Fahad al Thurnairy and Omar al Bayourni. ECF No. 3946. Accordingly, a conference is

scheduled for Thursday, April 12, 2018, at 4:00 p.m. in Courtroom 219, Thurgood Marshall

Courthouse, 40 Foley Square, New York, New York. By April 6, 2018, the parties should notify

the Court if more than 20 counsel intend to appear at this conference. If so, the Court will move

the conference to the ceremonial courtroom.

         The parties are further ORDERED to meet and confer in advance of this conference, and

they should be prepared to propose and set a reasonable schedule for limited jurisdictional

discovery. The Court will also address the March 27, 2018 Letter from the Plaintiffs’ Executive

Committees (the “PECs”) proposing a change to the procedures for adding and removing

plaintiffs in this action. ECF No. 3943. The Defendants’ Executive Committee may file a

response to the PECs’ letter by Friday, April 6, 2018.

SO ORDERED.


DATED:           March 30, 2018
                 New York, New York
